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                          IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



 SHERIE LYNN ANDERSON,                                SOUTHWEST AIRLINES CO.’S REPLY
                                                      IN SUPPORT OF MOTION FOR
                    Plaintiff,                        SUMMARY JUDGMENT

 v.
                                                       Case Number: 2:18-cv-00921-BSJ
 SOUTHWEST AIRLINES CO., a foreign
 corporation; JOHN AND JANE DOES 1-10; ABC             Judge: Bruce S. Jenkins
 CORPORATIONS 1-10 and XYZ
 PARTNERSHIPS 1-10,

                    Defendants.



       Southwest Airlines Co. (“Southwest”), through counsel, and pursuant to Rules 7 and 56

of the Federal Rules of Civil Procedure, and DUCivR 56-1, submits its Reply Memorandum to

Plaintiff’s Opposition to Southwest’s Motion For Summary Judgment (Doc. No. 45)

(“Opposition”) and in support of Southwest’s Motion for Summary Judgment (Doc. No. 41)

(“Motion”), requests an order granting judgment in favor of Southwest and dismissing with

prejudice Plaintiff’s negligence claim, as follows:

                                        INTRODUCTION




                                                 1
       Plaintiff is demanding a judgment against Southwest for allegedly negligent actions.

Plaintiff does not get to just recite vague testimony and claim that is evidence to prove her case.

Plaintiff describes her testimony, riddled with “I don’t remember(s),” “maybe(s)” “I think so(s),”

“I don’t think so,” “I thought,” or “probably(s)” as “conclusively establishing negligence.” Not

only is Southwest not required to accept Plaintiff’s vague “story” as true, but Plaintiff’s

speculative testimony cannot meet her burden of proof on a negligence claim or even an

inference of negligence. Southwest should not be punished because no one can recollect this

non-incident, including the captain who was allegedly walking right next to Plaintiff according to

her testimony.1 Southwest has responded in discovery with all of the information it knows about

the incident.2 Contrary to Plaintiff’s assertion, Southwest is entitled to summary judgment



1
  Plaintiff continuously imputes improper motives to Southwest because no one at Southwest can
recall this incident. For instance, Plaintiff titles a section of the Opposition: “Defendants are
actively concealing evidence and witnesses.” (Opposition at pp. 20-23). Imputing improper
motives is a violation of Utah’s Standards of Professionalism and Civility ¶3: “Lawyers shall
not, without an adequate factual basis, attribute to other counsel or the court improper motives,
purpose, or conduct . . . Neither written submissions nor oral presentations should disparage the
integrity, intelligence, morals, ethics, or personal behavior of an adversary unless such matters
are directly relevant under controlling substantive law.” Southwest does not want to waste the
Court’s time on Plaintiff’s, unfounded, un-professional, and un-civil claims that have nothing to
do with this Motion, however, Southwest attaches its Discovery Responses here (Ex. A)
including interrogatories that have been verified under oath regarding its knowledge of this
incident.
2
  For instance, INTERROGATORY NO 1, requests: Describe the details of the accident at
issue in your own words. Your response must include the date, time, location, weather
conditions, lighting conditions, individuals and witnesses present, and the state of the equipment
and facilities in use pertaining to the accident.
ANSWER TO INTERROGATORY NO. 1: Southwest objects on the bases that the question is
overly broad, vague, ambiguous, irrelevant, and better suited for a deposition. Subject to the
foregoing objections, Southwest has no independent recollection of the accident at this time,
other than the following: when Plaintiff was walking up to board the plane, she exhibited some
distress to the Flight Attendant standing in the boarding doorway. The Flight Attendant asked
Plaintiff what was wrong and Plaintiff showed the Flight Attendant the hematoma on Plaintiff’s
leg. The Flight Attendant notified the Operations Supervisor to call paramedics. The paramedics
were called and the paramedics cleared Plaintiff to fly to Phoenix. The Flight Attendant offered
Plaintiff a bag of ice for her comfort, as an accommodation. The Flight Attendant periodically

                                                  2
because, based on Plaintiff’s testimony, there is not enough evidence to prove negligence as a

matter of law. Indeed, the cases Southwest discusses in its Motion, grant summary judgment for

defendants based on plaintiffs’ speculative claims; Southwest is not required for summary

judgment to produce a contrary set of facts. (Motion at p. 8). “[B]are contentions, unsupported by

any specification of facts in support thereof, raise no material questions of fact as will preclude

entry of summary judgment.” Vanicsek v. Wal-Mart Stores, Inc., 2010 U.S. Dist. LEXIS 30123,

*7, 2010 WL 1329939 (D. Utah March 29, 2010) (citations and quotations omitted).3

       In the alternative, however, Plaintiff’s case should be dismissed because her claims are

preempted by federal law. With respect to preemption under the Airline Deregulation Act,

Plaintiff does not address her claims in the context of the test to determine if a negligence claim

is preempted – whether it is related to a price, route, or service. Plaintiff contends that the ADA

does not preempt personal injury torts, but fails to acknowledge the cases from the 10th circuit

where personal injury claims were preempted. She makes red herring arguments regarding the

antiquated savings clause and the FAA’s insurance requirements that are not determinative of

preemption. What is determinative of preemption — is whether the claim is related to a price,

route, or service, where here, Plaintiff’s complaints of a situation inside the passenger boarding

bridge relates to Southwest’s procedures for boarding customers efficiently and in a manner that

gives Southwest an operational and competitive advantage over its airline rivals, including the

ability to provide lower fares.




checked on Plaintiff throughout the flight and does not recall any other issues or complaints from
Plaintiff during the flight.
3
  “It is regrettable that plaintiff suffered injuries. However, not every accident that occurs gives
rise to a cause of action upon which the party injured may recover damages from someone.
Thousands of accidents occur every day for which no one is liable in damages.” Id. at *8
(citations and quotations omitted).

                                                  3
        With respect to the Air Carrier Access Act, Plaintiff is stuck on the narrow proposition

that it only applies to claims for discrimination, however this is not determinative of ACAA

preemption. Plaintiff herself recognizes (Opp. at p. 27) that the Federal Aviation Administration

preempts claims where the regulations are pervasive. And here, the ACAA provides

comprehensive regulations regarding carriers’ obligations to provide boarding and deplaning

assistance. Plaintiff’s complaints regarding how Southwest was completing its wheelchair

boarding procedures, including regarding the role speed may have played, runs right into the

pervasive federal regulations of the ACAA. Plaintiff cannot invoke some other legal source (i.e.,

state common law) to establish the duty to which airlines are held in the provision of those

mobility assistance services, thus her claims are preempted.

         RESPONSE TO PLAINTIFF’S OBJECTION TO DEFENDANT’S STATEMENT OF
    UNDISPUTED MATERIAL FACTS AND OBJECTION TO PLAINTIFF’S RESPONSES TO
           DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS4

        Other than some background facts to describe Southwest’s business practices, whether in

the Introduction5 or Defendant’s Undisputed Facts, Southwest’s facts are based on Plaintiff’s

testimony with citations to her deposition and direct quotations for the most part. Southwest is

just citing to the record; and describing a situation that Plaintiff cannot fully remember, as

Plaintiff’s “facts,” are couched with “I don’t remember(s),” “maybe(s)” “I think so(s),” “I don’t

think so,” “I thought,” or “probably(s)” more times than can be counted.



4
  The response and objection are together here because they are based on the same cited facts in
the record.
5
  While Defendant is not required to cite to undisputed facts in the Background section (or
Introduction), most of the facts it cites are direct quotes from Plaintiff’s deposition. The Court
permits a “background” section that need not be limited to undisputed facts and need not cite to
evidentiary support. DUCivR 56-1 (b)(2). (“Background (Optional): Parties may opt to include
this section to provide background and context for the case, dispute, and motion. If included, this
section should be placed between the Relief Sought section and the Statement of Undisputed
Material Facts.”

                                                  4
          On the other hand, while Southwest quotes Plaintiff’s deposition testimony in its

Statement of Undisputed Facts, Plaintiff’s Response to Defendant’s Statement of Material Facts

is based on inferences, and does not provide, “a citation with particularity to the evidence upon

which the non-moving party relies to refute that fact.” DUCivR 56-1(c)(3). More importantly,

Plaintiff does not even respond if she disputes6 Southwest’s Statement of Facts per DUCivR 56-

1(c)(3), because she can’t. She can’t provide “a citation with particularity to the evidence upon

which the non-moving party relies to refute that fact,” because Southwest’s facts are based on

Plaintiff’s very own quoted deposition testimony. DUCivR 56-1(c)(3). Plaintiff’s only response

is an objection. As described herein, Plaintiff’s objections are not well-taken, and are improper,

because the rules require a response whether the fact is disputed. DUCivR 56-1(c)(3). Further

because these facts are not disputed, they should be deemed admitted, which includes all of

Southwest’s facts in its Motion aside from Fact No. 14.

          For instance, Plaintiff objects to Southwest’s Statement of Fact No. 9. “Plaintiff when

asked, did not identify anything she did to yield to the oncoming wheelchair,” as follows:

          Plaintiff’s Response: Objection. Again, Plaintiff answered the questions she was
          asked but that testimony is not and cannot be deemed to be the entire scope of her
          testimony. Proper detailed follow up questions would have likely revealed more
          details. It is improper for Defendant to inject its own bias or to imply that
          Plaintiff‘s testimony at deposition is somehow every minute detail of her entire
          knowledge. This statement is also argumentative as it attempts to create and
          impose a legal duty on the Plaintiff that did not exist. This statement also
          mischaracterizes the unrebutted testimony. Plaintiff testified, ―I felt like I was
          safe by the captain, I thought. Moreover, her answer on which this statement
          relies was a response to a properly objected to argumentative and speculative
          question by opposing counsel. This fact is therefore not admissible. Plaintiff also
          ―thought there was enough room to get by the negligent employee. Plaintiff was
          also never asked to identify everything she did to yield to the oncoming
          wheelchair. Finally, there is no evidence in the record that Plaintiff had either a
          duty or an opportunity to yield to the oncoming wheelchair. On the contrary, the
          evidence on record shows that it was Defendant‘s negligent employee who had


6
    Plaintiff disputed one fact, No. 14, addressed below.

                                                   5
        the duty to yield to the Plaintiff since he was the one pushing the dangerous
        equipment that injured her.

        Opposition at p. 8.

SOUTHWEST’S REPLY: See Plaintiff’s deposition testimony below which contradicts this

objection. Plaintiff was asked twice if she moved or moved out of the way. She was given a third

opportunity to testify if she tried to move out of the way, but testified: “I felt like I was safe by

the captain, I thought.”

Q.· · Did you move when you saw him coming?
· · · A.· · Well, he wasn't aiming for me I don't think.
Q.· · I mean it's pretty small in there in the jet bridge.·Did you try and move out of the
way?
· · · A.· · He was pretty close to the wall, I thought, but I don't know.· I don't know what
happened.· I'm thinking that the leg things were sticking out. I don't know if they stick out, but it
was a metal, the heavy metal ones.
Q.· · So you thought there was enough room for him to get by?
· · · A.· · Oh, yes.· I didn't have any worry that -- like I said, the captain was pushing my
husband and we were probably visiting.
Q.· · You were talking to the captain?
· · · A.· · Probably.
Q.· · Maybe you should have been walking behind the captain.
· · MR. STEPHENSON:· Objection.· Speculation and argumentative.
THE WITNESS:· I felt like I was safe by the captain, I thought.

Anderson Depo. at 95:17-96:15 (Doc. 36-1)

        Another example, Plaintiff objects to Southwest’s Statement of Fact No. 17. “The

captain who was pushing her husband down the boarding bridge, in the wheelchair, and walking

right next to Plaintiff, did not notice that Plaintiff and the wheelchair came into contact (even

though Plaintiff allegedly screamed out in pain).”

        Plaintiff’s Response: Objection. It is wholly inappropriate and in violation of the plain
        language of Rules 11 and 56 for Defendant to set forth argument in a Statement of
        Undisputed Facts—especially when that argument is directly refuted by the undisputed
        testimony. Plaintiff screamed out in pain when the wheelchair hit her. That is not an
        alleged event—it is an undisputed fact. Plaintiff felt like she had been shot. Furthermore,
        Defendants are actively concealing the identity and whereabouts of the captain. He has
        therefore never testified whether he noticed the accident or not. It is improper for


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       Defendant‘s counsel to testify on his behalf in this manner about what the captain noticed
       or did notice. Counsel has no personal knowledge of this case and is therefore
       incompetent to testify.

       Opp. at p. 12.

SOUTHWEST’S REPLY: See Plaintiff’s deposition testimony below, which Southwest’s

Statement of Fact No. 17 is based on. Contrary to Plaintiff’s assertion, the Defendant’s counsel is

not “testifying on the captain’s behalf.” Defendant’s counsel is citing to Plaintiff’s deposition

testimony where she was asked numerous times about the captain’s reaction to her allegedly

being “smashed into” with the wheelchair.

Q.· · Did you scream out in pain?
· · · A.· · Oh, yes.· Uh-huh (Affirmative).
· · · Q.· · And who was the first person that --
· · · A.· · The stewardess.
· · · Q.· · The stewardess was right there?
· · · A.· · Yes.·I don't even know if the captain really knew so much what was happening to me.
· · · Q.· · He didn't say anything to you when you screamed out in pain?
· · · A.· · I remember the stewardess mostly.
Q.· · And so the captain didn't say anything to you?
· · · A.· · I don't remember him saying anything.

Q.· · Did anyone else see it hit you, the wheelchair?
· · · A.· · There was a girl on the plane that offered to give me her name and I didn't.

Anderson Depo. at 97:16-25; 99:3-5; 98:7-10.

       In another example, Southwest’s Statement of Fact No. 7, Southwest quotes directly

from Plaintiff’s depo “Plaintiff describes the wheelchair attendant only in the vaguest of terms:

‘foreign maybe,’ ‘[p]robably forties,’ with dark skin (‘I think he was dark’), and ‘wearing

whatever the attire that the other ones were wearing.’”

               Plaintiff’s Response: Objection. This improperly and argumentatively
               includes Defendant‘s counsel’s personal opinion and characterization of
               Plaintiff‘s testimony. It is also scandalous since it attempts to portray
               Plaintiff‘s testimony as racist. Plaintiff‘s unrebutted testimony is that the
               negligent employee was employed by Defendant and her description of
               him was anything other than vague. She described his approximate age,


                                                  7
               hair color, complexion, indicated he was “foreign maybe” and definitively
               identified his uniform as “wearing whatever attire that the other ones
               [employees] were wearing.” There is nothing in the record whatsoever to
               rebut that testimony.

               Opp. at pp. 6–7.

SOUTHWEST’S REPLY: See Plaintiff’s deposition testimony below, which is the sum total

testimony of her description of the person pushing the wheelchair and her identification of him

as an “alleged Southwest employee.”

         A.      I want to say he was foreign maybe, but I’m not positive. He was wearing
whatever the attire that the other ones were wearing and I don't remember if it was a vest or
jacket or what it was. I just knew that he was with Southwest.
Q.· · And how old, approximately?
· · · A.· · Probably forties.· Thirty-five to forty. Maybe 40.
Q.· · Color of hair, skin?
· · · A.· · Dark.
·Q.· · Dark?
         A.· · Yes, I think.· I think he was dark.
Q.· · Did he have an accent?
·        A.· · Oh, I don't know.· I don’t think he talked to me.

       Anderson Depo. at 95:10-96:1.

       Including when asked if he had an accent she stated, “Oh, I don’t know. I don’t think he

talked to me.” Her testimony is far from clear or concrete on any specific description of who was

pushing the wheelchair – using words such as “I’m not positive,” or “I don’t remember(s).” How

would she even know he was “foreign,” without talking to him? What does that even mean for

identifying a person. Plaintiff refuses to admit that she is drawing huge leaps from an incomplete

memory (as with the rest of her story). This repetitive speculation seems especially evident with

respect to her pronouncement that the wheelchair pusher was “an employee of Southwest.” If the

“clarity” of this fact were so obvious from Plaintiff’s testimony alone, why did her attorney find

it necessary to alter her testimony by inserting the assumed fact, in brackets, as he says,




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“Plaintiff testified very clearly that ― He was wearing whatever the attire that the other ones

[employees of Southwest] were wearing …” (Opp. at p. 16).

       Finally, Plaintiff objects and disputes the following Southwest facts that demonstrate that

Plaintiff does not know how the accident happened.

Southwest’s Statement of Fact No. 8: Plaintiff can only say ―”I think I did. I think I saw him”
as the man with the empty wheelchair approached.

               Response: Objection. It is patently false to claim that ―Plaintiff can only
               say anything. In depositions parties are asked specific questions and they
               answer those specific questions. Their deposition testimony does not
               constitute or reveal everything they know about a matter. Plaintiff can—
               and will—testify to far more information about her case than Defendants
               gleaned in her deposition. Just because Defendants failed to ask for
               sufficient details during her deposition does not mean that information
               does not exist. Moreover, it is inappropriate for Defendant‘s counsel to
               inject her bias and opinions into a Statement of Undisputed Facts. Indeed,
               this entire fact is taken out of context and thus does not accurately portray
               the extent of Plaintiff‘s knowledge on the matter. Plaintiff obviously saw
               the negligent employee because she identified his appearance in detail.
               She also testified that she saw the negligent employee approaching her
               while “pushing” out a wheelchair, that “he was pretty close to the wall,”
               that she “felt safe by the captain,” that he was the only one coming out of
               the aircraft, and that when she was hit she screamed out in pain but still
               the negligent employee did nothing to check on her injuries. Plaintiff can,
               and actually did, say more than what this statement sets forth.

               Opp. at 7.

SOUTHWEST’S REPLY: See Plaintiff’s deposition testimony below. The point is Plaintiff

waffles and guesses repeatedly on her testimony and cannot describe clearly how her injury

happened.

Q.· · I mean did you see him coming out with it?
· · · A.· · I think I did.· I think I saw him.· But you know, I was shocked, you know.· When I got
hit and saw the pain of it, I was shocked, totally shocked.· And like I said, just absolutely -- you
know.
· · · Q.· · Did you move when you saw him coming?
· · · A.· · Well, he wasn’t aiming for me I don’t think.

Anderson Depo. at 96:11-19


                                                 9
Southwest’s Statement of Fact No. 13. Plaintiff cannot recall where in the passenger boarding
bridge the accident happened, or how close she was to the boarding door.

               Response: Objection. This statement is not material for purposes of
               summary judgment. The exact spot inside the jet bridge where she was
               injured by Defendants negligent employee is also irrelevant. Plaintiff
               definitely testified she was in the jet bridge and not on the aircraft when
               she was injured.

               Opp. at 10.

SOUTHWEST’S REPLY: See Plaintiff’s deposition testimony below. Plaintiff is incorrect; this

fact is relevant. This fact may help confirm or deny which Southwest employees may have been

present or it could help lend information regarding the mechanics of the accident, amongst other

things. In addition, this fact demonstrates further Plaintiff’s lack of concrete information

involving the details of this incident.

Q.· · How close you were to the door to get on?
··     A.· · I must have been -- you know, I don't know because -- I don't remember how long it
was, but I just remember that I couldn't put my weight on my leg.

       Anderson Depo. 93:11-14

Southwest’s Statement of Fact No. 14. Plaintiff does not know how the accident happened: “I
don‘t know what happened.”

               Response: Disputed. Plaintiff testified in detail about how the accident
               happened and that testimony is unrebutted. It is therefore false and in
               violation of Rule 11 for Defendant to pretend Plaintiff doesn‘t know how
               the accident happened. Plaintiff testified that Defendant‘s negligent
               employee crashed into her with an empty wheelchair when he was
               hurrying past her and there is nothing in the record to rebut that testimony.
               Plaintiff knows and testified exactly how the accident happened.

               Opp. at 10-11.

SOUTHWEST’S REPLY: Southwest is just quoting Plaintiff’s deposition testimony. Plaintiff

conclusively argues that she knows what happened, but her actual testimony demonstrates

otherwise. No one, not even Plaintiff, saw what happened. In describing how she was injured,


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Plaintiff testifies: “I thought like—I thought, what happened?” (Anderson Depo. 92:17-19). She

waffles, she speculates, she guesses on every detail of how she was actually injured, because she

doesn’t know. Even though Plaintiff doesn’t dispute Southwest’s Statement of Fact No. 15, she

surmises there too, ‘I‘m thinking that the leg things were sticking out. I don‘t know if they stick

out, but it was a metal, the heavy metal ones.’

                                           ARGUMENT

       The Court should grant summary judgment for Delta in this case because “there is no

genuine dispute as to any material fact claimed by Plaintiff and the movant is entitled to

judgment as a matter of law.” F.R.C.P. 56(a). Although the court must “view the evidence and

draw any inferences in a light most favorable to the party opposing summary judgment, [the

opposing] party must identify sufficient evidence which would require submission of the case to

a jury.” Jensen v. Gale, 2014 U.S. Dist. LEXIS 175701, *26 (D. Utah Dec. 18, 2014) (citations

omitted). “A plaintiff's failure to present evidence that, if believed by the trier of fact, would

establish any one of the [elements] of the prima facie case justifies a grant of summary judgment

to the defendant.” Niemela v. Imperial Mfg., Inc., 263 P.3d 1191 (Utah App. 2011) (alteration in

original) (citation and internal quotation marks omitted).

I.     Plaintiff’s Testimony Full of “I don’t remember(s),” “maybe(s)” and “I think so(s),”
       Does Not Even Meet the Standard For An Inference of Negligence Under Res Ipsa.

       Plaintiff argues repeatedly that her testimony is unrebutted, however, Plaintiff’s wishy

washy “unrebutted” testimony does not actually contain the facts of Southwest’s negligence.

Unrebutted, unclear facts, do not equal undisputed negligence. Contrary to Plaintiff’s self-

serving arguments, when her testimony is closely examined, she does not know the details of

how this accident happened. She cannot take the leap that her “facts” can prove negligence

against Southwest. Southwest cites numerous cases in its Motion (Motion at p. 8) that Plaintiff


                                                  11
doesn’t even attempt to distinguish because speculation on how an injury occurs is fatal to a

negligence claim.

       Plaintiff also claims that her “undisputed testimony” makes a res ipsa claim obvious

because the injury would not have occurred if the person in control of the wheelchair had

exercised reasonable care. First, there is no confirming evidence that a Southwest person was

pushing the empty wheelchair. Second, people can be bumped into without negligence, in the

case of a wheelchair, or otherwise. There is just not any evidence that the wheelchair pusher was

not using reasonable care. Third, because Plaintiff does not exactly know how the injury

occurred, her conduct on the jet-bridge may in fact have contributed to the injury (this is much

different than a plaintiff who was unconscious during a medical operation and would not have an

opportunity for any fault).7 Contrary to her arguments, her vague testimony does rest upon a

“mere choice of probabilities”8 —from Plaintiff’s quoted testimony, it can easily be inferred that

she was at best distracted, and more likely completely inattentive, and it is just as likely that

Plaintiff collided with the wheelchair as it is that the wheelchair impacted her.

II.   Plaintiff’s Claims Are Expressly Preempted by The ADA Because They Relate to
Southwest’s Pricing and Services




7
  “The very purpose of the doctrine of res ipsa loquitur is to allow a plaintiff who may have been
unconscious or incapacitated during an operation the opportunity to establish negligence and
causation by circumstantial evidence.” Dalley v. Utah Valley Regional Medical Ctr., 791 P.2d
193, 197 (Utah 1990).
8
  “The requisite foundation for a res ipsa instruction ‘cannot rest upon speculation or conjecture,
nor upon a mere choice of probabilities.’” Walker v. Parish Chem. Co., 914 P.2d 1157, 1163,
(1996 Utah App.) (citation omitted). “Confronted with two plausible explanations, one
suggesting defendant’s negligence and one not, the trial court was correct in finding that res ipsa
loquitur was inappropriate in this case.” Kelly v. Am. Airlines, Inc., 508 F.2d 1379, 1380 (5th Cir.
1975).

                                                  12
          Plaintiff conclusively argues that the Airline Deregulation Act “narrowly”9 preempts

issues related to a price, route, or service of an air carrier and does not preempt personal injury

claims. To be sure, personal injury claims won’t be preempted if they are not related to a price

route or service. But this is not the case here. Indeed in Morales, the Court characterized the

“relates to” language as having a “broad scope,” an “expansive sweep,” and being “deliberately

expansive” and “conspicuous for its breadth.” Morales, 504 U.S. 374, 384. As further

acknowledged by the Tenth Circuit, that the Supreme Court interpreted 49 U.S.C. § 41713(b)(1)

broadly to preempt “all State enforcement actions having a connection with or reference to

airline rates, routes, or services” Arapahoe County Pub. Airport Auth. v. F.A.A., 242 F.3d 1213,

122211 (10th Cir. 2001) (quotations omitted, citing Morales, 504 U.S. at 383-84).

          Plaintiff is hung up that the “savings clause,” that was included in a predecessor act of the

ADA, prior to the preemption provision being added in 1978 (Opp. at p. 32), assures that

personal injury actions would not be preempted. Nothing about the “savings clause” assures this,

and in fact the Supreme Court in Ginsberg notes: “[the] Aviation Act’s general remedies saving

clause is ‘a relic of the pre-ADA/no pre-emption regime,’ that ‘cannot be allowed to supersede

the specific substantive pre-emption provision,’” 572 U.S. 273, 274 (2014) (quoting Morales,

504 U. S., at 385, 112 S. Ct. 2031, 119 L. Ed. 2d 157).

          Plaintiff string cites many cases, which she doesn’t even explain, claiming that “the

overwhelming majority of courts interpreting [the] preemption clause have . . . explicitly ruled

―that claims for personal injuries are not covered by this preemption clause.” (Opp. at p. 30, fn.

109). Notably, not included in Plaintiff’s analysis, are the 10th Circuit District Court cases




9
    Plaintiff argues this, but does not cite to any ADA cases that explicitly stand for this.

                                                    13
(specifically a recent case form this very Court)10 that contravene her sole premise, and involve

ADA preemption of personal injury claims.11 Regardless, the test for determining whether a

particular claim is preempted by the ADA, is not whether the claim is a personal injury claim or

not— the test is whether the claim is related to a “price, route, or service of an air carrier.”

Gardner at 1318. (citing 49 U.S.C. § 41713(b)(1)). Plaintiff fails to argue, pursuant to the case

law, why Plaintiff’s claim here is not related to Southwest’s pricing and boarding services as

described in Southwest’s MSJ (MSJ at p. 13).

       Plaintiff gives short shrift to the cases in our very own district that hold preemption of

personal injury claims. Gardner v. United States, 316 F. Supp. 3d 1308 (D. Utah 2018); Sawyer

v. Sw. Airlines Co., 243 F. Supp. 2d 1257, 1266 (D. Kan. 2003), aff‘d, 145 F. App‘x 238 (10th

Cir. 2005). In Gardner and Sawyer, plaintiffs claimed that the airlines’ employees’ negligent

actions caused their injuries. In Gardner, plaintiff claimed that Delta did not use reasonable care

in dealing with a Federal Air Marshal that had harassed and threatened plaintiff during the flight,

and Delta’s negligent actions caused emotional distress and physical ramifications therefrom.

316 F. Supp. 3d 1308. In Sawyer, plaintiff claimed that Southwest did not use reasonable care

with passenger assistance and direction in the boarding process, which caused plaintiff injury.

Sawyer, 2004 U.S. Dist. LEXIS 128, at *6. Even where Gardner and Sawyer involved personal



10
   Gardner v. United States, 316 F. Supp. 3d 1308 (D. Utah 2018)
11
   Plaintiff cites, France v. Trans States Airlines, LLC, 2019 U.S. Dist. LEXIS 200305, *1, 2019
WL 6130803 (D. Colorado), where the allegations were that the airline negligently allowed the
temperature inside a passenger plane delayed on the Denver International Airport tarmac to rise
to a dangerous level, causing an infant child to overheat and suffer physical injuries. The
defense did not appear to argue clearly how these claims related to a price, route, or service, and
the court held that there is no conflict between federal law and state law because plaintiff’s
arguments are based on a violation of a federal airline safety regulation, and under these
circumstances, there is no danger that the Defendant Airlines will be held to inconsistent or
conflicting standards of behavior across the country. Id. at *30. Here, Plaintiff has not asserted a
violation of a federal airline safety regulation.

                                                  14
injury negligence claims, Gardner and Sawyer’s negligence claims were preempted because the

allegations related to services of the air carrier. Similarly, here, Plaintiff claims that a Southwest

employee was acting negligently when assisting passengers in the boarding process, which

caused her injury (SOF ¶¶10, 11, & 16). Plaintiff’s claim is no different than the personal injury

claims against the airline employees in Gardner and Sawyer, that “related to a price, route or

service.”

       Plaintiff is also stuck on the FAA requirement for air carriers to obtain insurance for

“bodily injury to, or death of, an individual or for loss of, or damage to, property of others,

resulting from the operation or maintenance of [an] aircraft.” 49 U.S.C. § 41112(a). Plaintiff is

correct that the cases say that “[s]uch a requirement would be ‘pointless,’ unless Congress

expected that some state tort actions would survive the enactment of the ADA.” Charas, 160

F.3d at 1265; accord Hodges, 44 F.3d at 338 (“A complete preemption of state law [claims for

personal injury] would have rendered any requirement of insurance coverage nugatory.”).

Indeed, “some12 state tort actions can survive preemption.” The insurance requirement, the

savings clause, or otherwise, however, do not provide blanket immunity from ADA preemption

for tort claims—it is a case by case analysis to determine if the tort claim is related to a price,

route or service. Whereas, here, this is exactly the case.

       Critically, Plaintiff fails to address how her claims that a Southwest employee injured her

while quickly pushing a wheelchair past her while she was boarding the flight, do not relate to




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   Judge Parrish recognized this in the Gardner analysis as well, that there is not a blanket rule
either way and the test is whether the claims are related to a price, route, or service. “Taken
together, the above-mentioned cases suggest that some common-law claims, such as a claim for
readmittance to a frequent flier program under a breach of the implied covenant of good faith and
fair dealing theory, are preempted. Other claims, like negligent design of an aircraft leading to
serious bodily injuries, are not preempted.” Gardner at 1318.

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Southwest’s boarding procedures, which provide Southwest’s ability to compete in the

marketplace and provide lower prices for their flights. One component of Southwest’s efficient,

standardized, user-friendly process that enables the airline to offer its Customers low fares is

quick aircraft turnaround. Plaintiff’s effort to see that Southwest pays a price (through a verdict

reduced to a judgment) for being “busy,” and moving quickly to accommodate Customers,

amounts to an effort to re-regulate the airline. In effect, what Plaintiff is claiming would

necessitate an increase in fares if Southwest were required to make significant changes to its

established processes of generating revenue. That is anathema to the ADA. For that reason, the

claim is preempted. Her claims fall within the competitive marketplace that Congress intended to

create with the ADA. See Morales, 504 U.S. at 378.

III.  The Standard of Ordinary Care is Preempted by the ACAA and Its Implementing
Regulations Promulgated in 14 C.F.R. part 382

       Plaintiff incorrectly argues that the ACAA only protects airlines from lawsuits for

discrimination. In pitching this, she reads the ACAA too narrowly. The ACAA in fact, and

legally, preempts claims where the substance of the claim, interferes with congressional intent to

pervasively occupy the field. Not whether the claim involves discrimination. “The regulations

promulgated under the ACAA, which implicate both safety13 and non-discrimination mandates,

establish with specificity an air carrier’s obligations to provide disabled passengers with

assistance ‘as needed’ in deplaning and to ensure disabled passengers are provided with


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  Plaintiff didn’t try to distinguish – or even acknowledge – Lagomarsino v. Delta Airlines, Inc.,
which states that, “[t]he ACAA comprehensively addresses not only discrimination in the form
of access to services and information, but also with respect to assisting disabled passengers in
boarding, deplaning, and connecting to subsequent flights. See 14 C.F.R. §§ 382.11-25, 382.91-
105.”) No. CV 19-3131-DMG (GJSx), 2020 U.S. Dist. LEXIS 73955, at *7 (C.D. Cal. Feb. 7,
2020)




                                                 16
‘transportation between gates to make a connection’ as requested. 14 CFR §382.95(a); 14 CFR

§382.91. This extensive regulation is of the sort contemplated by the Ninth Circuit in Martin and

Montalvo, implying an intent by Congress to preempt state-law in this area. Plaintiff’s state-law

claims, then, are preempted by the ACAA.” Johnson v. Nw. Airlines, Inc., No. C 08-02272

VRW, 2010 U.S. Dist. LEXIS 139808, at *17-18 (N.D. Cal. May 5, 2010) (emphasis added).

Plaintiff is hard-pressed to argue that the regulations governing the use of wheelchairs are not

pervasive, and that the substance of her negligence claim involving wheelchairs does not

interfere with congressional intent to pervasively occupy this field.

        Moreover, Plaintiff is just wrong in suggesting the ACAA is nothing more than an

antidiscrimination statute that doesn’t apply to personal injury claims. For example, in Summers

v. Delta Airlines, Inc., 805 F. Supp. 2d 874 (N.D. Cal. 2011), the plaintiff alleged “that she fell

and incurred serious injuries due to the dangerous condition created by the step or gap and due to

the lack of required assistance from flight personnel.” In that case, the Court held that “[t]he

ACAA regulates with specificity an airline’s obligations with respect to boarding and deplaning

assistance.” Id. at 882.

        Plaintiff mistakenly dismisses as “nonsense” the fact that there is no specific regulation

that dictates precisely how a wheelchair is to be pushed, or that prohibits “airline employees

[from running] through a small jet bridge while pushing a large metal wheelchair past other

people.”14 However, Plaintiff misses the mark—for claims to be preempted there does not have




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  Notably, in this case there is a specific regulation on point with respect to Plaintiff’s claim that
the wheelchair attendant was hurrying. Federal law requires that air carriers “must promptly
provide or ensure the provision of assistance requested by or on behalf of passengers with a
disability, or offered by carrier or airport operator personnel and accepted by passengers with a
disability, in enplaning and deplaning. This assistance must include, as needed, the services of
personnel and the use of ground wheelchairs…” 14 C.F.R. § 382.95(a).

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to be a specific regulation on point—the test is whether the general field is pervasively regulated.

Plaintiff states, “[t]he Ninth Circuit has clarified that the FAA only preempts specific claims

when the agency issues pervasive regulations in an area, like passenger warnings.” Martin ex rel.

Heckman v. Midwest Exp. Holdings, Inc., 555 F.3d 806, 812 (9th Cir. 2009), and attempts to

distinguish this from the facts of our case. While Plaintiff cites Martin, it is really Montalvo that

made this point. Montalvo shows the fallacy of Plaintiff’s position. Montalvo involved

allegations that airlines failed to warn passengers of risks of developing DVT as a result of

immobility during flights. In fact, there were no regulations that required airlines to provide

DVT warnings. The point was that the field – the “area” – involved (warnings given by airlines

to passengers) was pervasively regulated, not that DVT warnings were, per se, the subject of

regulation.

       It was this aspect of Judge Walker’s decision that the Ninth Circuit affirmed: “The FAA,

together with federal air safety regulations, establish complete and thorough safety standards for

interstate and international air transportation that are not subject to supplementation by, or

variation among, states. The district court correctly held that because there is no federal

requirement that airlines warn passengers about the risk of developing DVT, Plaintiffs’

negligence claim fails as a matter of law.” Montalvo v. Spirit Airlines, 508 F.3d 464, 474 (9th

Cir. 2007) (emphasis added). Where as here, there does not have to be a federal requirement on

point with every detail of Plaintiff’s claim for it to be preempted. Because federal law has issued

pervasive regulations regarding wheelchair service, include boarding, deplaning, and connecting

to subsequent flights, congress has intended to pervasively occupy this field and Plaintiff’s

claims are preempted.




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       Plaintiff summarily concludes that the cases cited by Southwest have nothing to do with

the facts of this case. Plaintiff is wrong. First, Gilstrap v. United Air Lines, Inc., 709 F.3d 995,

999 (9th Cir. 2013), where the court ruled that the standard of care was preempted because the

ACAA regulations were pervasive on plaintiff’s claim that the airlines failed to provide her with

wheelchair assistance for moving through the airport,15 is analogous to Plaintiff’s claims here.

Here, Plaintiff’s claims that the wheelchair pusher “was in a hurry” and “failed to operate the

wheelchair in a safe and prudent manner,” as in Gilstrap, run headlong into the pervasive federal

regulations that govern the provision of mobility assistance at airports, including wheelchair

services, and the training of, and proficiency required for, those who provide the assistance.

       Second, Southwest cited Lopez v. Jet Blue Airways, 662 F.3d 593, 598 (2d Cir. 2011);

Stokes v. Sw. Airlines, 887 F.3d 199, 205 (5th Cir. 2018); Segalman v. Sw. Airlines Co., 895 F.3d

1219, 1221 (9th Cir. 2018); Love v. Delta Air Lines, 310 F.3d 1347, 1359 (11th Cir. 2002) to

illustrate the predominant view among the circuit courts that the ACAA does not create a private

right of action, including, the 10th Circuit’s case for this proposition, Boswell v. Skywest

Airlines, Inc., 361 F.3d 1263, 1268-69 (10th Cir. 2004).16 These cases are not cited for the

purpose of analyzing the preemptive effect of the ACAA regulations on Plaintiff’s claims; these

cases are cited for the purpose of demonstrating that if a Plaintiff alleges an airline violates a

DOT regulation, the district court is not the forum for a remedy. In fact, the preemption

arguments are not even made in these appeals. These cases provide another reason why



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   The ACAA and its implementing regulations therefore establish the standard of care — or
duty — United owed regarding that activity, preempting any different or higher standard of care
that may exist under state tort law. Id
16
   In Boswell, the Court noted the Congressional establishment of an administrative enforcement
scheme for violations of the ACAA. Those claiming to be aggrieved by an alleged ACAA
violation can file complaints with the Secretary of Transportation and appeal the Secretary of
Transportation’s orders to the Court of Appeals. Id. at 1269-1270.

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Plaintiff’s claim is unsustainable here—even if Southwest in some theoretical (yet unproven)

scenario was found to have violated DOT regulations in its handling of the wheelchair in

question, Plaintiff still could not pursue her claim for relief in this forum. Under the Tenth

Circuit’s opinion in Boswell, Plaintiff is limited to relief available through the administrative

enforcement mechanism of the ACAA.


                                           CONCLUSION

       For the reasons set forth above, Plaintiff’s claim that Southwest acted without reasonable

care is self-serving speculation about how this accident happened. As a result, Plaintiff cannot

prove negligence against Southwest in this case and does not even have enough evidence to

establish an inference of negligence under res ipsa. In the alternative, because Plaintiff’s

negligence claim relates to the service and prices provided by Southwest, most notably access to

flights through the airlines particular boarding procedures, it is expressly preempted by the ADA.

Even if it were not, the claim is nevertheless impliedly field preempted by the ACAA because it

implicates a field of aviation that is pervasively regulated by the federal government through the

ACAA. By itself, such implied field preemption would not necessarily be case-dispositive. But

here it is. That is because plaintiff has not identified a federal standard of care that (a) governed

Southwest’s conduct and (b) was breached by Southwest.



Dated this 17th day of June, 2020


                                                               W | LAW

                                                               /s/ Meghan A. Sheridan
                                                               Attorneys for Southwest Airlines Co.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of June 2020, a true and correct copy of the forgoing

SOUTHWEST AIRLINES CO.’S REPLY IN SUPPORT OF MOTION FOR SUMMARY

JUDGMENT was filed via the Court’s electronic filing system which sent notice to the

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